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Wl"i f"sL‘-T Tf\_§ ML.N;PHI'S
CALVIN HALL, .]UDGMENT IN A CIVIL CASE
Plaintiff,
v.
SEARS ROEBUCK AND COMPANY, CASE NO: 03-2937-B
Defendant.

 

DECISI()N BY COURT. This action came to consideration before the Court. The issues have
been considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance With the Order entered on
March 29, 2005, this cause is hereby dismissed with prejudice.

 

  
 

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Honorable J. Breen
US DISTRICT COURT

